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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 UNITED STATES OF AMERICA,
              Plaintiff,                                Case No. 09-20326
 v.                                                     Honorable Nancy G. Edmunds
 CLARENCE HENRY COHEN (D-9),

              Defendant.
 _______________________________/

                           OPINION AND ORDER REGARDING
                           DEFENDANT’S MOTIONS [581] [585]

       Defendant Clarence Henry Cohen is currently in the custody of the Federal

 Bureau of Prisons (“BOP”) at the Federal Correctional Institution in Terre Haute,

 Indiana. The matter is before the Court on Defendant’s motion for compassionate

 release.1 (ECF No. 585, PgID 2391-2434.) The government opposes Defendant’s

 request. (ECF No. 584.) The Court has reviewed the record in its entirety and finds

 that a hearing is not necessary. For the reasons set forth below, the Court DENIES

 Defendant’s motion without prejudice.




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           Defendant initially moved for his release through counsel. (ECF No. 581.) In a
 subsequent filing, however, Defendant moves to strike that motion, arguing his attorney
 filed it despite his instructions that she no longer represent him. (ECF No. 585, PgID
 2381-90.) Defendant further requests the Court consider an alternate pro se motion.
 Defense counsel later filed a motion to withdraw, citing a breakdown in the attorney-
 client relationship. (ECF No. 586.) The Court has granted counsel’s request to
 withdraw. With regard to Defendant’s motion to strike, the Court will construe it as a
 motion to withdraw his first motion for release. The Court GRANTS Defendant’s
 request to withdraw that motion and instead considers the arguments he makes in his
 pro se motion.
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 I.     Background

        On October 21, 2010, Defendant pled guilty to conspiracy to possess with intent

 to distribute and to distribute cocaine in violation of 21 U.S.C. §§ 841, 846. (ECF No.

 356.) This Court sentenced Defendant to a term of imprisonment of 264 months. (ECF

 No. 460.) The Sixth Circuit affirmed on direct appeal. See United States v. Cohen, 515

 F. App’x 405 (6th Cir. 2013). The Court later reduced Defendant’s sentence to 235

 months pursuant to 18 U.S.C. § 3582(c)(2). (ECF No. 550.) His projected release date

 is in October 2026.

        Defendant now moves for his release due to the health concerns associated with

 the COVID-19 pandemic. He argues he faces a heightened risk of severe illness from

 the virus because he is a former smoker, is obese, and suffers from lung and liver

 complications. Defendant also argues it is difficult to practice social distancing and

 proper hygiene while incarcerated at his facility.

 II.    Analysis

        As amended by the First Step Act, 18 U.S.C. § 3582(c)(1)(A) authorizes courts to

 modify terms of imprisonment as follows:

        the court, upon motion of the Director of the Bureau of Prisons, or upon
        motion of the defendant after the defendant has fully exhausted all
        administrative rights to appeal a failure of the Bureau of Prisons to bring a
        motion on the defendant’s behalf or the lapse of 30 days from the receipt of
        such a request by the warden of the defendant’s facility, whichever is earlier,
        may reduce the term of imprisonment (and may impose a term of probation
        or supervised release with or without conditions that does not exceed the
        unserved portion of the original term of imprisonment), after considering the
        factors set forth in section 3553(a) to the extent that they are applicable, if
        it finds that—
                (i)    extraordinary and compelling reasons warrant such a
                reduction; . . .
                ...



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               and that such a reduction is consistent with applicable policy
               statements issued by the Sentencing Commission . . . .

 The statute thus allows a sentencing court to reduce the term of imprisonment of a

 defendant once the exhaustion requirement has been satisfied. Before granting

 compassionate release pursuant to § 3582(c)(1)(A), a court must conduct the following

 “‘three-step inquiry:’ the court must ‘find’ that ‘extraordinary and compelling reasons

 warrant a sentence reduction,’ ensure ‘that such a reduction is consistent with

 applicable policy statements issued by the Sentencing Commission,’ and ‘consider all

 relevant sentencing factors listed in 18 U.S.C. § 3553(a).’” United States v. Elias, No.

 20-3654, 2021 U.S. App. LEXIS 251, at *2 (6th Cir. Jan. 6, 2021) (quoting United States

 v. Jones, 980 F.3d 1098, 1101 (6th Cir. 2020)). The Sixth Circuit has held that the

 Sentencing Commission’s policy statement in U.S.S.G. § 1B1.13 is not an applicable

 policy statement for compassionate release motions brought directly by defendants.

 See id. at *5-6. Thus, in those cases, a court need not consider § 1B1.13 and has the

 full discretion to define “extraordinary and compelling.” Id. at *6.

        Here, the government argues that Defendant’s motion must be denied because

 he has not satisfied the exhaustion requirement. While Defendant has attached to his

 motion an administrative request for his release, (see ECF No. 585, PgID 2411-12), the

 BOP has informed the government it did not receive a request for release from

 Defendant, (see ECF No. 584-1). Considering the record is not clear on this point, the

 Court finds that Defendant has not met his burden of showing he satisfied the

 exhaustion requirement. Because the government has objected to Defendant’s failure

 to exhaust, the Court must enforce this mandatory requirement. See United States v.

 Alam, 960 F.3d 831, 833-34 (6th Cir. 2020). Defendant’s motion is, therefore, denied

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 without prejudice. See id. at 836. But even if Defendant had exhausted his

 administrative remedies, the Court would not grant him the relief he seeks.

        Defendant is only 38 years old. And while he points to the health concerns

 associated with the COVID-19 pandemic, he has not presented any evidence of his

 medical conditions. Moreover, Defendant states his body mass index is 30.3, so his

 obesity is admittedly mild. And it is not clear whether Defendant faces a heightened risk

 for severe illness from the virus due to “lung and liver complications.” See, e.g., People

 with Certain Medical Conditions, Centers for Disease Control and Prevention,

 https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-higher-

 risk.html (“Having chronic liver disease . . . might increase your risk for severe illness

 from COVID-19.”) (emphasis added). Defendant’s generalized concerns regarding the

 pandemic are legitimate, but his risk of contracting the virus is the same as any other

 inmate at his facility. In sum, Defendant has not demonstrated there are extraordinary

 and compelling reasons that would warrant his release.2

 III.   Conclusion

        Based upon the foregoing, Defendant’s motion is DENIED without prejudice.

        SO ORDERED.

                                     s/Nancy G. Edmunds
                                     Nancy G. Edmunds
                                     United States District Judge


 Dated: January 12, 2021




        2
         Because Defendant has failed to demonstrate that he satisfied the exhaustion
 requirement and has not shown extraordinary and compelling reasons warranting a
 sentence reduction, the Court need not address the sentencing factors in § 3553(a).
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 I hereby certify that a copy of the foregoing document was served upon counsel of record
 on January 12, 2021, by electronic and/or ordinary mail.

                                  s/Lisa Bartlett
                                  Case Manager




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